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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


Configair,
          Plaintiff,

         v.                                                    Civil No. 3:17cv2026 (JBA)

Kurz,
         Defendant.

                                     SCHEDULING ORDER

  The parties’ 26(f) Planning Report is approved, as amended, as follows:


  1.          All discovery will be completed 12/3/18, as follows:

              Plaintiff’s expert reports will be served by 9/3/18. and depositions will be completed
              by 10/31/18;
              Defendant’s expert reports will be served by 11/2/18, and depositions will be
              completed by 12/3/18.

              Any damages analysis will be served by 9/3/18.

  2.          After a pre-filing conference, any dispositive motions will be filed by 12/21/18.

              Trial Readiness:
              If dispositive motions are filed, the parties will be expected to be trial ready 6/1/19.
              The parties’ Joint Trial Memorandum will be filed 30 days after ruling on dispositive
              motions or as otherwise ordered.

              If no dispositive motions are filed, the parties' Joint Trial Memorandum will be due
              1/15/19 and the parties will be expected to be trial ready 2/1/19.

  3.          A telephonic status conference will be held on 12/11/18 at 4:00 p.m. Defense
              counsel will initiate the conference call. Chambers: 203-773-2737. The parties’
              status reports will be filed 12/4/18.

                                              IT IS SO ORDERED.
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                           /s/________________________
                           Janet Bond Arterton, U.S.D.J.
